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ct173                                                                                                                   06/2020
                         United States Bankruptcy Court
                                  District of Connecticut

In re:
              Ho Wan Kwok
                                                                                              Case Number: 22-50073
                                                                                              Chapter:        11
          Debtor*


         ORDER SCHEDULING INITIAL CHAPTER 11 CASE MANAGEMENT CONFERENCE

       Ho Wan Kwok (the "Debtor"), filed a petition for reorganization under Chapter 11 of the Bankruptcy Code on
February 15, 2022. The Court having determined that a Case Management Conference will aid in the efficient conduct
and proper administration of the case; it is hereby
        ORDERED: Pursuant to 11 U.S.C. § 105(d), a Case Management Conference will be conducted by the
undersigned Bankruptcy Judge, at the United States Bankruptcy Court, 915 Lafayette Blvd., Room 123, Courtroom,
Bridgeport, Connecticut, on March 22, 2022 at 1:00 PM; and it is further
        ORDERED: The Debtor, or an authorized representative of the Debtor (knowledgeable on the matters described
below), and counsel for the Debtor, shall be present at this Case Management Conference and shall be prepared to discuss
at the Court's discretion, as applicable:
         1.     The nature of the Debtor's business and the reason(s) for the Chapter 11 filing;
         2.     The Debtor's current financial condition, including post−petition operations and revenue;
         3.     Debtor−in−possession financing;
         4.     The use of cash collateral;
         5.     The Debtor's capital structure;
         6.     The Debtor's corporate structure, including subsidiaries and affiliates (specifying the names and positions of
                the Debtor's officers, directors or managing members);
         7.     Any significant motions which the Debtor anticipates bringing before the Court including, but not limited to,
                sale motions or motions related to management retention, collective bargaining or health and welfare
                benefits;
         8.     Matters relating to the retention of professionals (including any brokers, financial advisors or appraisers);
         9.     The status of any material litigation involving the Debtor;
         10.    The status of the Debtor's insurance;
         11.    Proposed deadlines for the filing of claims and a Plan and Disclosure Statement;
         12.    The use of alternative dispute resolution, if appropriate;
         13.    If this is a single asset real estate case, whether the Debtor intends to file a plan within the time allotted
                pursuant to § 362(d)(3)(A), or whether the Debtor intends to commence monthly payments pursuant to §
                362(d)(3)(B);
         14.    If this is a small business case, whether the Debtor anticipates being able to satisfy the deadlines provided by
                § 1121(e);
         15.    If this is an individual case, all material issues unique to individual Chapter 11 cases;
         16.    The scheduling of additional Case Management Conferences;
         17.    Any other case administrative matters;
         18.    The proposed management of reclamation claims; and it is further
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        ORDERED: The Debtor shall file with the Court, and serve upon the Office of the United States Trustee,
Monthly Operating reports during the pendency of this case. The Monthly Operating Reports shall be in the form
prescribed by the Office of the United States Trustee's Operating Guidelines and Reporting Requirements for Debtors−in
−Posession and Trustees for cases pending in this District. The Monthly Operating Reports shall be served and filed on or
before the 20th day of the month following the reporting period; and it is further
         ORDERED: Unexcused failure to attend any Case Management Conference or to file timely Monthly Operating
Reports in compliance with this Order may constitute cause for conversion of this case to Chapter 7, appointment of a
trustee, or dismissal of this case pursuant to 11 U.S.C. § 1112; and it is further
        ORDERED: The Clerk of Court shall give notice of this Order to the Debtor, its counsel, the United States
Trustee and all creditors and parties in interest.



                                                                                         BY THE COURT
Dated: February 17, 2022




United States Bankruptcy Court
District of Connecticut
915 Lafayette Boulevard
Bridgeport, CT 06604


*For the purposes of this order, "Debtor" means "Debtors" where applicable.
